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     JOHN R. MANNING (SBN 220874)
 1   ATTORNEY AT LAW
 2
     1111 H Street, # 204
     Sacramento, CA. 95814
 3   (916) 444-3994
     Fax (916) 447-0931
 4
     Attorney for Defendant
 5
     EDWIN BLODEN TOOLE
 6
                              IN THE UNITED STATES DISTRICT COURT
 7
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
 8

 9
     UNITED STATES OF AMERICA,                        )       No. CR-S-09-0513 MCE
                                                      )
10
                                                      )
            Plaintiff,                                )       DEFENDANT’S WAIVER OF
11
                                                      )       APPEARANCE
     v.                                               )
12
                                                      )
     EDWIN BLODEN TOOLE,                              )
13
                                                      )       Judge: Honorable Morrison C. England, Jr.
                                                      )
14          Defendant.                                )
                                                      )
15
                                                      )
                                                      )
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18
            Pursuant to Fed.R.Crim.P. 43, defendant, EDWIN BLODEN TOOLE, hereby waives the
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     right to be present in person in open court upon the hearing of any motion or other proceeding in
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     this case, including, but not limited to, when the case is set for trial, when a continuance is
21
     ordered, and when other action is taken by the Court before or after trial, except upon
22
     arraignment, initial appearance, trial confirmation hearing, entry of plea, and every stage of trial
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     including verdict, impanelment of jury and imposition of sentence.
24
            Defendant hereby requests the Court to proceed during every absence of his which the
25
     Court may permit pursuant to this waiver and agrees that his interests will be deemed represented
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     at all times by the presence of his attorney, the same as if the defendant were personally present.
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     Defendant further agrees to be present in Court ready for trial any day and hour the Court may
28
     fix in his absence.


                                                          1
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 1          The defendant further acknowledges that he has been informed of his rights under Title
 2   18 U.S.C §§ 3161-3174 (The Speedy Trial Act) and authorizes his attorney to set times and
 3   delays without his personal appearance.
 4

 5   Dated: January 11, 2010
 6

 7                                                        /s/ Edwin Bloden Toole
                                                         EDWIN BLODEN TOOLE
 8
                                                         (Original retained by attorney)
 9

10
            I concur in Mr. Toole’s decision to waive his presence at future proceedings.
11

12
     Dated: January 11, 2010                             Respectfully submitted,
13

14
                                                          /s/ John R. Manning
15                                                       JOHN R. MANNING
                                                         Attorney at Law
16
                                                         Attorney for Defendant
17                                                       Edwin Bloden Toole

18

19   IT IS SO ORDERED,
     Dated: February 18, 2010
20
                                               __________________________________
21
                                               MORRISON C. ENGLAND, JR
22                                             UNITED STATES DISTRICT JUDGE

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